          Case 1:16-cv-00232-CKK Document 149 Filed 11/16/22 Page 1 of 5




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

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TIMOTHY KARCHER, et al.,                              :
                                                      :      Case No. 16-cv-00232 (CKK)
                           Plaintiffs,                :
                                                      :
         -against-                                    :
                                                      :
ISLAMIC REPUBLIC OF IRAN,                             :
                                                      :
                           Defendant.                 :
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                        STATUS REPORT PURSUANT TO THE COURT’S
                            NOVEMBER 7, 2022, MINUTE ORDER

         Plaintiffs respectfully set forth below their responses to the issues raised in the Court’s

November 7, 2022, Minute Order.

I.       The 15 Attacks Referred to the Special Master (Including 14 Attacks Involving
         Plaintiffs Injured by Iranian-Manufactured Explosively Formed Penetrators
         (“EFPs”)).

         Plaintiffs have reviewed the Special Master’s Reports & Recommendations (“R&Rs”)

pertaining to 15 attacks for which the Court previously found Iran liable (“Referred Attacks”).1

         The Court will recall that Plaintiffs originally proposed that the Court adjust the existing

damages framework derived from Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52 (D.D.C.

2010), Peterson v. Islamic Republic of Iran, 515 F. Supp. 2d 25 (D.D.C. 2007) (“Peterson II”),

and other cases due to unique medical issues raised by injuries caused by EFPs, as well as advances

in medicine since the Valore/Peterson framework was established. Plaintiffs therefore

recommended establishing what they believed was “a more nuanced set of baselines that takes into


1
         There were initially 7 bellwether attacks. However, in its January 14, 2021, Order, ECF No. 125, the Court
appointed Mr. Balaran to assess non-economic damages and issue R&Rs for eight additional Plaintiffs who were
subsequently encompassed in the Court’s January 14, 2021, Memorandum Opinion, Karcher v. Islamic Republic of
Iran, No. 16-cv-232 (CKK), 2021 WL 133507 (D.D.C. Jan. 14, 2021).
         Case 1:16-cv-00232-CKK Document 149 Filed 11/16/22 Page 2 of 5




account the role that Traumatic Brain Injuries play in EFP attacks, along with other unique physical

injuries caused by this weapon.” Plaintiffs’ Proposed Findings of Fact and Conclusions of Law,

ECF No. 77, at 111. See also Karcher v. Islamic Republic of Iran, 396 F. Supp. 3d 12, 63 (D.D.C.

2019) (“Plaintiffs invoke a damages framework commonly applied in other FSIA cases in this

Circuit”—citing Valore and Peterson II—“But they argue that this framework should be adjusted

for EFP strikes.”).

       The Court acknowledged Plaintiffs’ evidence showing that a “‘fairly unprecedented’

challenge of EFP strikes is the frequently resulting ‘polytrauma,’ that is, ‘multiple traumatic

injuries to a wide range of body organs and systems,’” including traumatic brain injury and

“distinctive external injuries.” Id. at 61. The Court, however, declined to adopt Plaintiffs’ proposal,

and referred the issue to a special master. Id. at 63-65. The Court directed that “[i]n Phase II

bellwether proceedings, the special master should receive damages evidence consisting at least of

medical records and further testimony,” i.e., “further testimony from experts or other fact

witnesses.” Id. at 65.

       The ensuing R&Rs comprehensively reviewed the expert testimony and medical records

submitted, but took a novel approach to assessing damages: Specifically, the R&Rs:

              Rejected the Valore/Peterson framework for damages, see Report and
               Recommendation of the Special Master re: Pain and Suffering Damages for Service
               Members Wounded in Action by Explosively Formed Penetrators, ECF No. 146
               (filed under seal), at *122;

              Rejected the premise that courts should compare damages awards and attempt to
               achieve rough parity in their awards for comparable injuries, notwithstanding
               frequently cited district practice doing so, see id. at *26-38;

              Rejected Plaintiffs’ proposal for adjusting the existing damages framework derived
               from Valore/Peterson, despite concluding that Plaintiffs are correct about the
               uniquely devastating medical issues raised by injuries caused by EFPs, see id. at
               *12, 61-63, 87-88, 93-95;




                                                  2
          Case 1:16-cv-00232-CKK Document 149 Filed 11/16/22 Page 3 of 5




                 Undertook an independent examination of medical literature and damages models
                  outside the submissions in this case, see, e.g., id. at *84-87, 122-24;

                 Formulated an entirely new framework for damages for injured survivors of EFP
                  attacks, see id. at *125-28, but otherwise applied the Valore/Peterson framework
                  for victims who survived non-EFP attacks, see ECF Nos. 148-1 (filed under seal)
                  at 19-23; 148-3 (filed under seal) at 21-23; 148-4 (filed under seal) at 29-34; 148-5
                  (filed under seal) at 15-17 (R&Rs for WIAs injured in non-EFP attack); and

                 Awarded damages to EFP victims that are in some cases lower than what would
                  have been assessed under the existing Valore/Peterson framework for damages, see
                  ECF No. 146 (filed under seal) at *138-39.

Plaintiffs therefore require further guidance from the Court because:

            (A)         Plaintiffs had proposed that the Court adjust the existing
                        Valore/Peterson damages framework but did not urge the Court to reject
                        the Valore/Peterson framework for damages (or comparing damages
                        awards generally) entirely, made no prior submission in support of such
                        a position, and have no way to assess whether the Court intended Mr.
                        Balaran to undertake a comprehensive review of all prior FSIA damages
                        case law and recommend a sui generis damages framework; and

            (B)         Plaintiffs are uncertain whether the Court expects Plaintiffs’ counsel to
                        provide an assessment of the R&R’s citations to and reliance upon
                        medical literature and damages models that are outside the record
                        submitted in this case, which would require engaging medical experts
                        for this purpose.

        If the Court intends to adopt a wholly new framework for FSIA damages for injured

survivors of terrorist attacks as the R&Rs propose, then Plaintiffs can certainly file objections to

the R&Rs identifying various issues with the methodology proposed and the damages assessments

recommended. However, Plaintiffs are unclear as to what role, if any, they should play in helping

the Court evaluate the validity of this Circuit’s longstanding, well-established case law on FSIA

damages. In any event, Plaintiffs will be guided by the Court on this issue.

        If the R&Rs’ analyses exceed the Court’s intended scope, Plaintiffs believe that the Court

can proceed in several alternative ways. Among the options it may wish to pursue, the Court could

direct Plaintiffs to:



                                                      3
         Case 1:16-cv-00232-CKK Document 149 Filed 11/16/22 Page 4 of 5




           (A)     Submit objections to the R&Rs solely based on the existing
                   Valore/Peterson framework for damages and based solely on any
                   perceived errors in analyzing and awarding damages based on that
                   existing framework;2

           (B)     Submit their Proposed Findings of Fact and Conclusions of Law as to
                   the Plaintiffs’ damages in the Referred Attacks directly to the Court so
                   the Court can make its own determination of damages based on the
                   submissions and evidence presented; or

           (C)     Submit their Proposed Findings of Fact and Conclusions of Law to a
                   Supplemental Special Master who would complete the assessment of
                   Plaintiffs’ damages for the Referred Attacks, either under the existing
                   Valore/Peterson framework or with the mandate to also consider
                   adjusting the existing damages framework due to acknowledged unique
                   medical issues raised by injuries caused by EFPs.

II.    The Appointment of Additional Special Masters to Evaluate Damages for Non-
       Bellwether Plaintiffs.

       Plaintiffs have confirmed that the five special masters nominated in their prior proposal

remain available to prepare reports and recommendations for all Plaintiffs whose claims have not

been previously assigned to a special master, including those implicated in the 73 EFP attacks that

the Court found Iran responsible for in its January 14, 2021, Memorandum Opinion, 2021 WL

133507. Plaintiffs are prepared to discuss and assist in whatever way the Court deems helpful.


Dated: November 16, 2022
                                                  Respectfully submitted,


                                         By:      /s/ Gary M. Osen
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       The R&Rs apply the existing frameworks in FSIA cases for damages for the lost wages and solatium claims.


                                                     4
Case 1:16-cv-00232-CKK Document 149 Filed 11/16/22 Page 5 of 5




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                               5
